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                          UNITED STATES BANKRUPTCY COURT
                                   District of Delaware
                               824 Market Street, 3rd Floor
                                  Wilmington, DE 19801
In Re:                                                     Bankruptcy Case No.: 22−11068−JTD
FTX Trading Ltd.
     Debtor                                                Bankruptcy Chapter: 11
__________________________________________

Alameda Research Ltd.

        Plaintiff                                          Adv. Proc. No.: 23−50444−JTD

        vs.

Genetic Networks LLC

        Defendant(s)

                                               ENTRY OF DEFAULT

      It appears from the record that the following defendant(s) failed to plead or otherwise defend in this case as
required by law.

           Defendant's Name: Genetic Networks LLC




        Therefore, default is entered against the defendant(s) as authorized by Federal Rule of Bankruptcy Procedure
7055.




                                                                    Una O'Boyle, Clerk of Court


Date: 9/7/23                                                    By: Ian Willoughby, Deputy Clerk




(VAN−431)
